IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO

WESTERN DIVISION
REBECCA SMITH ) CASENO: 3:16-cv-463
Plaintiff, Judge Walter H. Rice
Vv. Magistrate Judge Michael R. Merz
GOLDBERG & STEIN ASSOCIATES, ;
LLC, et al. )
Defendants

 

ORDER

 

Plaintiffs Motion for Default Judgment having been duly considered and with good
grounds having been shown and demonstrated in relation thereto, the Court having been fully
advised in the matter finds as follows:

1. The Court’s Docket reflects an entry of default against Defendant MARCELLUS
HORTON. ECF 11.

2. The Defendant MARCELLUS HORTON has failed to file a proper motion, answer, or
other defense of this matter in the time required under the Civil Rules and are, therefore,
in default as provided in Civ. R. 55.

3. The Court deems the failure of Defendant MARCELLUS HORTON to answer and
defend this matter to be a confession of truth with respect to the allegations in the
Complaint.

4. Plaintiff is entitled to recover the relief prayed for in the Complaint, including injunctive

relief and damages, with interest, costs, and attorney fees.
. As set forth in the Complaint, Plaintiff seeks injunctive relief, actual and statutory damages,
attorney fees, and costs for violations of the CSPA (R.C. §1345.01 et seq.), the Fair Debt
Collection Practices Act, 15 U.S.C. §1692 et seq., (the “FDCPA”), the TCPA (47 U.S.C.
227 et seq.), and state racketeering laws.

. The CSPA, O.R.C. §1345.09(B), provides for statutory damages of $200. Therefore, the
Court awards judgment in the amount of $200 in statutory CSPA damages.

. The FDCPA, 15 U.S.C. §1692k(a)(2), provides for statutory damages of up to $1,000.
Therefore, the Court awards judgment in the amount of $1,000 in statutory FDCPA
damages.

. The TCPA provides for statutory damages of $500 per unlawful phone call, and $1,500 per
call if made knowingly. As Ms. Smith demanded that the calls cease, the continued calls
were made knowingly. At least 40 calls were made. Therefore, the Court awards judgment
under the TCPA in the amount of $60,000.

Furthermore, under 15 U.S.C. §1692k(a)(1), O.R.C. §1345.09(B), and O.R.C.
§2923.34(A), Plaintiff is entitled to compensation for non-economic injury, such as
annoyance, aggravation, embarrassment, depression, anxiety, sleep deprivation, loss of
appetite, and associated physical ailments as claimed in the Complaint by Plaintiff. Under
the FDCPA and O.R.C. §2923.34(A), there is no cap to an award for this category of
damages. Under the CSPA, a plaintiff may seek up to $5,000 for this claim. Therefore,
the Court awards judgment in the amount of $5,000 under the FDCPA, the CSPA, and
Ohio’s racketeering law, for damage to his reputation, emotional damage, and associated
physical ailments, including annoyance, aggravation, embarrassment, depression, anxiety,

sleep deprivation, and loss of appetite.
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12.

Additionally, because O.R.C. §2923.34(E) provides for recovery of treble actual damages
and because the acts of Defendant MARCELLUS HORTON in calling Plaintiff with
threats to extort monies were willful and malicious, and conducted with utter disregard for
the rights of consumers in Ohio in general, and Ms. Smith in particular, the Court awards
treble/punitive damages in the amount of $15,000, which is three times the award for
emotional and other injury.
Plaintiff is entitled to recover interest, costs, and attorney fees pursuant to 15 U.S.C.
§1692k(a)(3), O.R.C. §1345.09(F), and O.R.C. §2923.34(F)&(G). As such Defendant
MARCELLUS HORTON is liable for Attorney fees and costs. To date, Plaintiff's
attorney has spent 29.50 hours on this matter, and his billable rate is $275 per hour.
Therefore, the Court further awards $8,112.50 in Attorney fees, which amount is found to
be fair and reasonable, plus costs.
Finally, the CSPA, O.R.C. §1345.09(D), provides that a consumer may seek injunctive
relief. Ohio’s state racketeering law, O.R.C. §2923.34(B)(2), further provides that a court
“may grant relief by entering any appropriate orders to ensure that the violation will not
continue or be repeated,” including, reasonable restriction upon the future activities of the
Defendant MARCELLUS HORTON. To grant such relief, evidence of special or
irreparable injury is not necessary. O.R.C. §2923.34(D). Accordingly, this Court hereby
issues the following injunctive order:

a. Defendant MARCELLUS HORTON, together with any business owned,

operated, or controlled by him, or employing him in any capacity, is hereby

enjoined and barred from engaging in any telemarketing or debt collection business
in the State of Ohio or calling consumers in the State of Ohio for any telemarketing

or debt collection purpose, until such time as-

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il.

Defendant MARCELLUS HORTON satisfies the monetary judgment

rendered herein by payment to Ms. Smith; and

Defendant MARCELLUS HORTON satisfies this Court that he will cease

engaging in the following activities or employing anyone or any entity

which engages in any of the following activities:

L.

Calling any consumer to collect any debt without clearly identifying
their true identity and clearly identifying themselves as a debt
collector.

Calling any consumer demanding the payment of any sum
unsupported by a good faith belief in the accuracy of the amount
sought based on law or contract.

Failing to cease calls to any consumer after either an oral or written
demand that the calls cease.

Calling any consumer with any type of threat.

Calling any consumer and indicating that any type of legal action
may be taken against the consumer, unless they may lawfully intend
to and they imminently intend to take such action.

Calling any third party on a consumer debt for any purpose other
than a single time and only to merely request contact information
for a consumer.

Violating the FDCPA or the CSPA in any other way.
b. The restrictions of this order regarding telemarketing and debt collection activities
in the State of Ohio shall specifically apply to Defendant MARCELLUS
HORTON.
WHEREFORE, THIS COURT ORDERS, ADJUDGES, AND DECREES that the Plaintiff
recovers from Defendant MARCELLUS HORTON the sum of $84,312.50, plus costs, plus
statutory interest from the date of judgment, and ENJOINS the Defendants as set forth herein.

IT IS SO ORDERED

Date: 3-30-17 bee,

JUDGE Walter HH. Rice
